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15
                                  UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17
                                      SAN FRANCISCO DIVISION
18
     NATIONAL TPS ALLIANCE, MARIELA                  Case No. 3:25-cv-1766-EMC
19   GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
     M.H., CECILIA DANIELA GONZÁLEZ                  UNOPPOSED ADMINISTRATIVE
20   HERRERA, ALBA CECILIA PURICA                    MOTION OF PLAINTIFFS A.C.A. AND
     HERNÁNDEZ, E.R., HENDRINA                       G.S. TO PROCEED UNDER PSEUDONYM
21   VIVAS CASTILLO, A.C.A., SHERIKA BLANC,
     VILES DORSAINVIL, and G.S.,
22
                 Plaintiffs,
23          vs.
24   KRISTI NOEM, in her official capacity as
     Secretary of Homeland Security, UNITED
25   STATES DEPARTMENT OF HOMELAND
     SECURITY, and UNITED STATES OF
26   AMERICA,
27                 Defendants.

28

                  PLAINTIFFS’ UNOPPOSED ADMIN. MOTION TO PROCEED UNDER PSEUDONYM
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                 PLAINTIFFS’ UNOPPOSED ADMIN. MOTION TO PROCEED UNDER PSEUDONYM
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1    I.      INTRODUCTION

2            Pursuant to Civil Local Rule 7-11, Plaintiffs A.C.A. and G.S. move for an order permitting

3    each to proceed in this action under the respective pseudonyms “A.C.A.” and “G.S.” and requiring

4    the parties use these pseudonyms in all publicly filed documents. This motion is based on the

5    memorandum of points and authorities below, and is accompanied by the Declaration of A.C.A.

6    (“A.C.A. Decl.”), the Declaration of G.S. (“G.S. Decl.”), the Declaration of Emilou MacLean in

7    Support of this Unopposed Administrative Motion (“MacLean Decl.”), and a Proposed Order. This

8    Court previously granted Plaintiffs M.H. and E.R.’s Administrative Motion to Proceed Under

9    Pseudonym due to similar risks of retaliatory harm. See ECF 70. Plaintiffs sought a stipulation from
10   Defendants, and Defendants indicated on March 20, 2025 that they do not oppose this motion.

11   MacLean Decl. ¶ 5.

12           Plaintiffs respectfully request leave for individual Plaintiffs (“A.C.A.” and “G.S.”) to proceed

13   in this litigation under the pseudonyms A.C.A. and G.S., respectively, to prevent the harms of

14   attaching their identities to sensitive disclosures.

15   II.     ARGUMENT

16           The use of pseudonyms is allowed where necessary “to protect a person from harassment,

17   injury, ridicule or personal embarrassment.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d

18   1058, 1068 (9th Cir. 2000) (finding threat of retaliation “enhanced at this stage of litigation” because

19   there were only twenty-three plaintiffs, all nonresident foreign workers, among tens of thousands of
20   employees, and defendants had power to trigger deportation proceedings “almost instantly”) (citation

21   omitted). A party may proceed anonymously when his or her “need for anonymity outweighs

22   prejudice to the opposing party and the public’s interest in knowing the party’s identity.” Id. at 1067.

23   In the Ninth Circuit, a party may proceed anonymously in two circumstances applicable here: when

24   identification creates a risk of retaliatory physical or mental harm and when anonymity is necessary

25   to preserve privacy in a matter of a sensitive and highly personal nature. Id. at 1068.

26           When a party fears retaliation, the court balances: (1) the severity of the threatened harm,
27   (2) the reasonableness of the anonymous parties’ fears, (3) the anonymous party’s vulnerability to

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 1   retaliation, (4) prejudice to the opposing party, and (5) whether the public’s interest in the case

 2   requires that litigants reveal their identities. Doe v. Kamehameha Schools/Bernice Pauahi Bishop

 3   Estate, 596 F.3d 1036, 1042 (9th Cir. 2010). In cases involving privacy interests, courts also

 4   consider whether the individual is challenging governmental activity and whether there are less

 5   drastic means of protecting the legitimate interests of either party. Doe v. Goldman, 169 F.R.D. 138,

 6   139–40 (D. Nev. 1996) (internal citations omitted).

 7          Here, A.C.A. and G.S. should be permitted to proceed by pseudonyms for two reasons. First,

 8   disclosure of their identity creates a significant risk of retaliatory harm. Second, anonymity is

 9   necessary to preserve the privacy of their highly personal information. A.C.A. and G.S.’s fears are
10   well-founded, and their need for anonymity does not prejudice the opposing party and actually

11   furthers the public interest, and there is no less drastic means of protecting their privacy interests.

12          A.      Disclosure of A.C.A.’s and G.S.’s Identities Creates a Risk of Retaliatory Harm.

13          A.C.A. and G.S. are individual Plaintiffs and Haitians who have TPS. As a result of the

14   challenged partial vacatur, A.C.A. and G.S. are at risk of imminently losing their TPS. They should

15   be permitted to proceed anonymously because disclosure of their identities would create a risk of

16   retaliatory harm.

17                  1.      A.C.A. and G.S. Reasonably Fear Immigration Status Retaliation.

18          A.C.A. and G.S. are plaintiffs challenging governmental activity terminating their TPS.

19   A.C.A. and G.S. have well-grounded fears of adverse immigration consequences if they publicly
20   identify with this litigation, especially given that Defendants are government agencies. Advanced

21   Textile, 214 F.3d at 1068 (acknowledging that plaintiffs may reasonably fear facing retaliation from

22   defendant-employer). A.C.A. has an approved visa petition that may allow him to obtain a more

23   permanent immigration status in a few years. A.C.A. Decl., ¶ 5. G.S. lives in Massachusetts, which

24   has recently been targeted by Trump’s Border Czar Tom Homan with rhetoric that he will “bring[]

25   hell” against illegal immigrants there in defiance of the state’s sanctuary city policies and any

26   judicial intervention. See G.S. Decl., ¶ 3; Matt Schooley & Logan Hall, Tom Homan, President
27   Trump's border czar, says he's "bringing hell" to sanctuary city Boston, CBS NEWS (Feb. 23, 2025),

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 1   https://www.cbsnews.com/boston/news/immigration-tom-homan-president-trump-sanctuary-city-

 2   boston/; Lauren Irwin, Homan on deportation flights: ‘I don’t care what the judges think’, THE HILL

 3   (Mar. 17, 2025), https://thehill.com/homenews/administration/5198604-border-czar-trump-

 4   deportation/. If A.C.A. and G.S. have continued interactions with Defendants during and after the

 5   litigation, such as regarding A.C.A.’s visa petition or in seeking other forms of immigration relief,

 6   they fear retaliation may come in the form of undue delay or adverse action to the processing of their

 7   alternative form of relief, or in connection with any immigration enforcement.

 8          A.C.A. and G.S. are especially fearful of immigration status retaliation for challenging

 9   governmental activity in light of the recent and unprecedented detention of Mahmoud Khalil, a
10   lawful permanent resident who possessed a green card, for Khalil’s role in organizing protests

11   criticizing in the government. A.C.A. Decl., ¶ 4; G.S. Decl., 2. See Daniella Silva, et al., Trump

12   administration says it intends to deport Mahmoud Khalil, alleging 'serious' foreign policy

13   consequences, NBC NEWS (Mar. 12, 2025), https://www.nbcnews.com/news/us-news/mahmoud-

14   khalil-court-arrest-detention-immigration-green-card-rcna195990.

15                  2.      A.C.A. and G.S. Reasonably Fear Harassment and Physical Harm.

16          A.C.A. and G.S. have legitimate fears that if they disclose their identities, they would be

17   subject to a risk of harassment, physical harm, and threats of violence due to their immigration

18   status. A.C.A. Decl., ¶¶ 6-7 (describing growing anti-immigrant sentiment in A.C.A.’s community in

19   Florida); G.S. Decl., ¶ 5. The Haitian immigrant community has been targeted by threats of violence
20   due to repeated racist and untrue remarks made by Defendants. See G.S. Decl., ¶ 4; Obed Manuel,

21   Bomb threats followed Trump’s false claims about Springfield. Some Haitians may leave, NPR

22   (Sept. 19, 2024), https://www.npr.org/2024/09/19/nx-s1-5114047/springfield-ohio-haitian-migrants-

23   trump-safety-concerns (reporting “[a]t least 33 bomb threats” in Springfield, Ohio, following

24   President Trump’s false claims on national TV about Haitian migrants there eating pets).

25          Parties can proceed anonymously if they have legitimate concerns that public identification

26   would make them easy targets of intense anti-immigrant sentiment. See Lozano v. City of Hazleton,
27   496 F. Supp. 2d 477, 507 (M.D. Pa. 2007), aff’d in part, vacated in part, 620 F.3d 170 (3d Cir.

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 1   2010), cert. granted, judgment vacated sub nom. City of Hazleton, Pa. v. Lozano, 563 U.S. 1030

 2   (2011), and aff’d in part, rev’d in part, 724 F.3d 297 (3d Cir. 2013).

 3          B.      A.C.A. and G.S. Are Vulnerable to Retaliation.

 4          A.C.A. and G.S. are in an extremely vulnerable position. If A.C.A. loses TPS status, his only

 5   recourse for alternative relief is based on a visa petition that is under Defendants’ review will not

 6   allow him to seek legal status for several years. A.C.A. Decl., ¶ 5. Further, A.C.A. resides in Florida,

 7   which recently passed legislation criminalizing entry into Florida without legal status, Fla. Stat. §

 8   811.102 (2025), and thus if he loses his TPS status and is unable to obtain alternative immigration

 9   relief, A.C.A. would not be able to legally re-enter his home state without risk of criminal
10   prosecution should he ever choose to leave. A.C.A. Decl., ¶ 6. G.S. is also fearful of losing his legal

11   status, particularly in light of Border Czar Homan’s threats of cracking down on illegal immigration

12   in Massachusetts, in defiance of sanctuary city policies and judicial orders. G.S. Decl., ¶ 3.

13          C.      Anonymity is Necessary to Protect Highly Personal Information.

14          A.C.A. and G.S. should also be permitted to proceed anonymously for the independent

15   reason that anonymity is necessary to “preserve privacy in a matter of sensitive and highly personal

16   nature.” Advanced Textile, 214 F.3d at 1068. A.C.A. and G.S.’s declarations disclose intimate

17   information about their own and their family’s immigration status, which constitutes “sensitive and

18   highly personal” information. See, e.g., Int’l Refugee Assistance Project v. Trump, 2017 WL 818255,

19   at *2 (D. Md. Mar. 1, 2017) (explaining plaintiffs’ immigration status “ha[s] been deemed to be
20   sufficiently sensitive and personal in nature to support plaintiffs’ use of pseudonyms under

21   appropriate circumstances”; collecting cases); see also 214 F.3d at 1169 (crediting plaintiffs’ “highly

22   vulnerable [immigration] status” as a factor weighing in favor of allowing plaintiffs to proceed

23   anonymously). Accordingly, for this reason, too, they should be permitted to proceed anonymously.

24          D.      Defendants Will Not Be Prejudiced by A.C.A. and G.S.’s Anonymity.

25          Defendants will suffer no prejudice by not knowing the identities of A.C.A. and G.S., who

26   are the only Haitian TPS holder Plaintiffs who have elected to proceed under pseudonym. The other
27   pseudonymous Plaintiffs are two of seven Venezuelan TPS holders Plaintiffs, and the Court

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 1   previously granted their request to proceed under pseudonym on March 12, 2025. See ECF 70. The

 2   anonymity of A.C.A. and G.S. will not prevent Defendants from preparing a defense at this stage,

 3   and procedural mechanisms could be employed during the discovery phase, if any, to ensure that

 4   discovery could occur. See E.E.O.C. v. ABM Indus. Inc., 249 F.R.D. 588, 594 (E.D. Cal. 2008).

 5            E.     Permitting A.C.A. and G.S. to Proceed Anonymously Furthers Public Interest.

 6            Although the public ordinarily has an interest in knowing the names of participants in

 7   lawsuits, that interest is outweighed where, as here, the public has an overriding interest in ensuring

 8   that individuals bring judicial challenges to government action that may violate constitutional rights

 9   and rights under the Administrative Procedure Act and the equal protection component of the Fifth
10   Amendment’s Due Process Clause. See, e.g., Advanced Textile Corp., 214 F.3d at 1073

11   (“[P]ermitting plaintiffs to use pseudonyms will serve the public’s interest in this lawsuit by enabling

12   it to go forward.”); Rivera v. NIBCO, Inc., 364 F.3d 1057, 1065 (9th Cir. 2004) (“The chilling effect

13   [that discovery of immigration status of workers] could have on the bringing of civil rights actions

14   unacceptably burdens the public interest.”).

15            Moreover, allowing A.C.A. and G.S. to proceed pseudonymously will not obstruct public

16   scrutiny of the important issues here. Although A.C.A. and G.S. seek to proceed pseudonymously

17   due to the risks of retaliation against themselves, the other Haitian and Venezuelan TPS holder

18   Plaintiffs have bravely elected to proceed publicly. Furthermore, the nature of the legal challenge

19   brought by Plaintiffs has almost nothing to do with A.C.A. and G.S.’s specific identities. See
20   Kamehameha Schools, 596 F.3d at 1043 (stating, in the context of a challenge to a private school’s

21   allegedly race-based admissions policy, that “it is difficult to see how disguising plaintiffs’ identities

22   will obstruct public scrutiny of the important issues” because the plaintiff children brought “claims

23   of widespread discrimination”).

24   III.     CONCLUSION

25            For the foregoing reasons, Plaintiffs request leave for A.C.A. and G.S. to proceed under

26   pseudonyms in this case.
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 1   Date: March 20, 2025                       Respectfully submitted,
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 3                                              OF NORTHERN CALIFORNIA

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 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on March 20, 2025, I caused the foregoing to be electronically filed with

 3   the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

 4   (NEF) to all counsel of record.

 5
                                                         ACLU FOUNDATION
 6                                                       OF NORTHERN CALIFORNIA
 7
                                                          /s/ Emilou MacLean
 8                                                       Emilou MacLean
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